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JOHN BRADLEY FORD                                               November 27, 2023

                                                                                   1
                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF LOUISIANA


      OFFICER JOHN DOE                    CIVIL ACTION
      POLICE OFFICER                      16-743-BAJ-RLB
                                          CHIEF JUDGE
      VERSUS                              BRIAN A JACKSON

      DeRAY McKESSON; and                 MAG. JUDGE
      BLACK LIVES MATTER                  RICHARD L.
                                          BOURGEOIS, JR.




                Deposition of JOHN BRADLEY FORD, via
      Zoom videoconferencing, taken in the
      above-entitled cause, pursuant to the
      following stipulation, before Dawn H. Hymel,
      Certified Court Reporter for the State of
      Louisiana, on Monday, the 27th of November,
      2023, commencing at 2:56 p.m.




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                                                                                  2
  1   APPEARANCES:
  2   Appearing on Behalf of Plaintiff, Officer John
      Doe Police Officer:
  3
           GRODNER LAW FIRM, APLC
  4        BY: DONNA U. GRODNER, ESQ.
           2223 Quail Run Drive
  5        Baton Rouge, Louisiana 70808
  6
  7   Appearing on Behalf of Defendant, DeRay
      McKesson:
  8
           SCHONEKAS, EVANS, McGOEY
  9            & McEACHIN, LLC
           BY: WILLIAM P. GIBBENS, ESQ.
 10        909 Poydras Street, Suite 1600
           New Orleans, Louisiana 70112
 11
 12
 13   ALSO PRESENT:
 14        DARREN SIBLEY, Paralegal
 15
 16
      REPORTED BY:
 17
           DAWN H. HYMEL
 18        Certified Court Reporter #81016
 19
 20
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 24
 25
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  1                            I N D E X
  2                                                            PAGE
  3    EXAMINATION BY:
  4              Mr. Gibbens                                     4
  5              Ms. Grodner                                    65
  6              Mr. Gibbens                                    95
  7              Ms. Grodner                                    97
  8              Mr. Gibbens                                    98
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                                                                                  4
  1                   S T I P U L A T I O N
  2             It is stipulated and agreed by and
  3   between all parties that this deposition is
  4   hereby being taken for all purposes pursuant
  5   to the Federal Rules of Civil Procedure.
  6             All formalities, with the exception of
  7   the reading and signing of the deposition by
  8   the witness, are waived.
  9             All objections, except those as to the
 10   form of the question and the responsiveness of
 11   the answer, are reserved until the deposition
 12   is used or sought to be used in evidence.
 13                            -0-
 14             JOHN BRADLEY FORD, 35860 N. Corbin
 15   Road, Walker, Louisiana, 70785, after having
 16   been duly sworn, testified as follows:
 17             THE COURT REPORTER:
 18                  Usual stipulations everyone?
 19             MR. GIBBENS:
 20                  Yes.
 21             MS. GRODNER:
 22                  Consistent with the Code, yeah.
 23   EXAMINATION BY MR. GIBBENS:
 24        Q. Okay.    So, good afternoon, Mr. Ford.
 25   My name is Billy Gibbens.          I represent DeRay

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                                                                                    5
  1    McKesson in this case.
  2              How are you today?
  3         A. I'm good, sir.        How are you?
  4         Q. Good.     Thank you.
  5              So let's -- I guess before we get
  6    started, why don't you tell me, where are you
  7    right now?
  8         A. I'm in Dalhart, Texas.
  9         Q. Okay.     And you look -- is it -- are you
 10    at your house?
 11         A. No, sir.      I'm in a hotel room.
 12         Q. Okay.     Got it.     Is there anybody else
 13    in the room with you?
 14         A. No, sir.
 15         Q. Okay.     So what are you doing -- it's,
 16    you said, Dalhart?
 17         A. Yes, sir.      I'm -- I'm working.
 18         Q. Okay.     And what are you doing these
 19    days?
 20         A. I'm a safety coordinator with the oil
 21    and gas industry.
 22         Q. Okay.     And how long have you been doing
 23    that?
 24         A. Four years, I believe, sir.
 25         Q. And before that, you were with the

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  1   Baton Rouge Police Department?
  2        A. Yes, sir.
  3        Q. All right.       So let's -- so tell me, so
  4   when did you leave Baton Rouge Police
  5   Department?
  6        A. September of 2019.
  7        Q. Okay.    And why did you -- why did you
  8   leave?
  9        A. I ended up leaving the department
 10   after -- after my injuries.         I know it was
 11   several months later, but I just -- I kept
 12   seeing a lot of black spots in my vision and
 13   some squiggly kind of like clear, I guess,
 14   lines is the best way I can describe it.              The
 15   night that I got the concussion, you know, I
 16   started seeing stuff like that in my vision,
 17   but I -- I -- I just didn't trust my vision
 18   well enough to continue staying, you know, as
 19   a police officer.        I felt like I wasn't able
 20   to continue my career because of that.
 21        Q. Okay.    Okay.     We'll get into some of
 22   that a little bit later.         But so September '19
 23   you left, and then you've been -- what is
 24   the -- what's the company that you work for
 25   now?

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  1         A. I work for Sunland Construction.
  2         Q. And that's as a safety coordinator?
  3         A. Yes, sir.
  4         Q. Okay.     And you've been -- are you --
  5    what, are you full-time, part-time?
  6         A. It's actually called a seasonal
  7    employee.
  8         Q. Okay.     So how -- how -- how -- how
  9    frequently do you work?
 10         A. I work pretty much the entire year.              I
 11    don't know what they -- they call us a
 12    seasonal so they don't have to -- something
 13    about full-time and insurance.           I'm not sure.
 14         Q. Okay.     But, so you work -- so you work
 15    year-round and do you work like, what, 40-hour
 16    workweeks or --
 17         A. We usually work six tens a week.
 18         Q. Okay.     So six -- what does that mean?
 19         A. Six days a week, ten-hour days.
 20         Q. Okay.     Six days a week, ten-hour days,
 21    and you've been doing that since you started
 22    in September '19?
 23         A. Well, four years, so for the last four
 24    years I've been working pretty much that
 25    schedule.

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  1         Q. Okay.   Got it.        All right.    Let's go
  2   back to your time at the Baton Rouge Police
  3   Department.      When did you start there?
  4         A. I believe May of 2012.
  5         Q. Okay.   And before that, what did you
  6   do?
  7         A. I was with the Livingston Parish
  8   Sheriff's Office.
  9         Q. Okay.   As a deputy?
 10         A. Yes, sir.
 11         Q. Okay.   And how long were you with
 12   Livingston, in Livingston?
 13         A. Approximately eight years.
 14         Q. All right.     And then were you in law
 15   enforcement before that, --
 16         A. Yes, sir.
 17         Q. -- Livingston?         Okay.   Where were you
 18   then?
 19         A. I was with the Natchez Police
 20   Department.      That's Mississippi.
 21         Q. Okay.   All right.        So, let's see.       If
 22   my math is right, it looks like you were with
 23   Livingston, in Livingston from about maybe
 24   2004 to 2012.
 25             Is that about right?

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                                                                                     9
  1         A. Yes, sir.
  2         Q. Okay.     And then Natchez, what years
  3    were you there?
  4         A. From 2000 to 2004.
  5         Q. Okay.     Were you in law enforcement
  6    before that?
  7         A. I've worked -- I kind of bounced
  8    around, but I did correctional type jobs.                I
  9    think I was with Concordia Parish Sheriff's
 10    Office before Natchez.
 11         Q. Okay.     All right.     So aside from what
 12    you're doing now for Suncoast [sic], were you
 13    always in -- were you always working in law
 14    enforcement?
 15         A. Yes, sir.      Fresh out of high school I
 16    went military.      I did my military obligation,
 17    four years, and I did seven Reserve, and I
 18    bounced around jobs after that.              I can't tell
 19    you -- I had a lot of construction type jobs
 20    and just looking for work wherever pretty
 21    much.
 22         Q. Okay.     So at the -- at the time you
 23    left the Baton Rouge Police Department, what
 24    was your -- what position did you have there?
 25         A. I was a corporal on the Street Crimes

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  1   Unit and I also was a K-9 handler.
  2         Q. And what is -- what were your
  3   responsibilities in the Street Crimes Unit?
  4   What did you do?
  5         A. We basically was formed to combat the
  6   crime in the city, you know, so we were a
  7   specialized unit and we just stayed in the
  8   neighborhoods where we had the most crime.               We
  9   did a lot of specialized patrols, we did a lot
 10   of arrests on narcotics, weapons, murderer
 11   suspects, warrants, and we also helped the
 12   SWAT team on any callouts that they had.
 13         Q. Okay.    And then how about as a K-9
 14   handler, what was your -- what was your duties
 15   with that?
 16         A. I had a single-purpose narcotics dog,
 17   so anytime they needed a dog to try to help
 18   sniff out some, you know, narcotics, whether
 19   it be a house or a vehicle, they would call
 20   me.
 21         Q. Okay.    In your time with the Baton
 22   Rouge Police Department, did you ever have any
 23   complaints filed against you?
 24         A. None that I'm aware of.
 25         Q. Okay.    How about with Livingston?

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                                                                                 11
  1          A. No.
  2          Q. And what about Natchez?
  3          A. No, sir.     No formal complaints, any of
  4     them.
  5          Q. Okay.    And any lawsuits filed against
  6     you?
  7          A. Oh, God.     I think, as far as a
  8     blanketed lawsuit, I think there were some at
  9     Baton Rouge, I believe, I think in relation to
 10     this, what we're talking about now today.
 11          Q. Okay.    So some -- some -- you were part
 12     of the lawsuits that were filed after those --
 13     the protests?
 14          A. I was told I was named, but I'd never
 15     got served with anything.
 16          Q. Got it.     Okay.    All right.      Let's talk
 17     about those protests.        So the -- they were --
 18     my understanding is that those protests were
 19     in response to the Alton Sterling shooting, --
 20          A. Yes, sir.
 21          Q. -- which was July the 5th of 2016.
 22               Is that -- was that your understanding
 23     of what those protests were about?
 24          A. Yes, sir.
 25          Q. Okay.    Now, so leading up, I guess, to

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                                                                                 12
  1   the -- the -- the -- the Alton Sterling
  2   shooting was July 5th and then these protests
  3   were -- this protest in Baton Rouge was July
  4   9th, what -- were you -- were you all with the
  5   police department doing anything to prepare
  6   for any sort of events?
  7        A. Yes, sir.      We've had several briefings
  8   and, you know, meetings about the protesters
  9   coming.
 10        Q. Okay.     And in any of those briefings or
 11   meetings, was there -- was there ever any
 12   discussion of DeRay McKesson?
 13        A. Yes, sir.
 14        Q. Okay.     Tell me about that.
 15        A. Basically we was informed that because
 16   of the shootings that we were going to have
 17   Black Lives Matters coming from several
 18   states.       We were told that DeRay McKesson was
 19   a Black Lives Matter leader and that they were
 20   coming to Baton Rouge to try to get a response
 21   from the police department, and that it would
 22   probably be violent and, you know, that was
 23   his track record everywhere that he went, it
 24   was a violent protest, so it was preparing for
 25   the worst pretty much.

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                                                                                 13
  1          Q. Okay.    And who was telling you these
  2     things?
  3          A. It would be Operations and they
  4     would -- they were getting the intel from
  5     several sources.      They was disseminating that
  6     to the teams.
  7          Q. Okay.    And so who -- can you give me
  8     any names, though, of who, who in Operations
  9     would that -- would that have been?
 10          A. I can see his face.        I can't remember
 11     his name.     I can find out, but I can't
 12     remember his name.
 13          Q. Okay.    But it was somebody in
 14     Operations at the Baton Rouge Police
 15     Department told you that DeRay McKesson was
 16     coming in for a protest and to expect
 17     violence?
 18          A. Yes, sir.
 19          Q. And did they -- did whoever this was
 20     explain to you how they -- how they learned
 21     this information?
 22          A. Well, my understanding is they looked
 23     at, you know, prior protests from Black Lives
 24     Matter in different cities and they talked to
 25     the police departments in those cities, you

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                                                                                 14
  1   know, about a lot of intel.          They also -- they
  2   had somebody, and I don't know who, but they
  3   did have an informant that would call us and
  4   give us information on what was being said and
  5   done and movements and things like that.
  6        Q. Okay.     So tell me more about that.          So
  7   you don't know who the informant is?
  8        A. No.
  9        Q. And do you know where this person was?
 10   I mean, how was -- do you know how they were
 11   getting information?
 12        A. No.    I know that what I was -- what our
 13   teams were told was that they had an informant
 14   that was close to Black Lives Matter
 15   activists.     They also had an informant with,
 16   they call it North Baton Rouge, people that's
 17   in North Baton Rouge that was there when DeRay
 18   came into town and they were privy to some of
 19   the meetings he had with the New Black Panther
 20   Party and other black activists in Baton
 21   Rouge.
 22        Q. Okay.     So let's start -- let me start
 23   with the -- you said there was an informant
 24   that was -- that was close to a Black Lives
 25   Matter activist.       Do you know what -- what

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  1     activist they were -- they were close to?              Are
  2     you talking about --
  3          A. DeRay.
  4          Q. Okay.    So there was an informant
  5     working for Baton Rouge Police that was
  6     close -- that was -- was this person in
  7     contact with DeRay McKesson?
  8          A. I don't believe it was a Baton Rouge
  9     officer, Mr. Gibbens.        I don't believe it was
 10     an officer.      I think it was a citizen.
 11          Q. Right, the informant.         Okay.
 12          A. Yes, sir.
 13          Q. But this -- this -- the informant was
 14     in contact with DeRay?
 15          A. Yes, sir.
 16          Q. Okay.
 17          A. That was my understanding, yes, sir.
 18          Q. Okay.    And who at the -- who at the
 19     Baton Rouge Police Department would know who
 20     this person, who this informant is?
 21          A. It had to be somebody in Operations or
 22     above.    Maybe the chief's office.           I'm not --
 23     I'm just not privy to that kind of
 24     information.
 25          Q. Okay.    But you've never spoken to

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                                                                                 16
  1   the -- you never spoke to the informant?
  2        A. No, sir.
  3        Q. Okay.     And you don't know -- you don't
  4   have any names for who that informant may have
  5   been?
  6        A. No, sir.
  7        Q. And what about any reports that -- I
  8   mean, what you got was just verbally relayed
  9   to you, or were there documents talking about
 10   what this informant said?
 11        A. I never seen documents.          They were just
 12   verbal.
 13        Q. Okay.     All right.     So I think there
 14   were -- it sounds like there were two, sort of
 15   two sort of subject matters that you got from
 16   this informant, and one of them was
 17   information about what Black Lives Matter was
 18   planning to do when they came to Baton Rouge;
 19   is that right?
 20        A. Yes, sir.
 21        Q. And then one of them was specific
 22   information about what Mr. McKesson had done
 23   or was doing when he got to Baton Rouge?
 24        A. Yes, sir.
 25             THE COURT REPORTER:

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                                                                                 17
  1                    Ma'am, you're muted.         Ms. Grodner,
  2               you're muted.
  3               MS. GRODNER:
  4                    I'm going to object.         I think that
  5               mischaracterizes his previous
  6               testimony.       He said there were two
  7               separate informants, and I think you
  8               kind of melded it into it was only one
  9               informant, but the way you asked the
 10               question, it was --
 11     BY MR. GIBBENS:
 12          Q. Yeah.    Well, I thought -- yeah, I
 13     thought that you were saying two informants.
 14     So how many informants were there?
 15          A. Well, what I was saying, Mr. Gibbens,
 16     is the way they were telling us is they had
 17     information from before McKesson got there and
 18     after he got there.         Now, whether that was two
 19     different people or if they got their intel
 20     from two different places, I'm not sure, but I
 21     just remember that they did call police
 22     departments and they was looking at track
 23     records of, you know, of what other cities
 24     he's been to and what happened while he was
 25     there leading protests and stuff.

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                                                                                 18
  1        Q. Okay.     Do you know, how did Baton
  2   Rouge, the Baton Rouge Police Department, know
  3   that he was coming in the first place?
  4        A. That, like I said, I'm not privy to all
  5   of that, but I know that when we had our
  6   briefing about getting ready for the protest,
  7   we were told during that briefing that DeRay
  8   McKesson, and I'd never heard his name really
  9   before that, so I didn't keep up with it, but
 10   that's the first I heard his name, but that he
 11   was leading the protest and was on his way to
 12   Baton Rouge to meet with New Black Panther
 13   Party and some activists from Baton Rouge.
 14        Q. Okay.     And so -- but that information
 15   then is -- did that come from an informant or
 16   did that come from just, you know, the police,
 17   you know, Baton Rouge police talking with
 18   other police departments and, you know, like
 19   looking -- seeing what was out there on
 20   Twitter and that kind of thing?
 21        A. I think both, Mr. Gibbens.
 22             MS. GRODNER:
 23                  Objection.       Calls for -- I'm going
 24             to -- I'm going to object.         It calls
 25             for speculation.       I don't think you've

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                                                                                  19
  1               laid a foundation that he was actually
  2               privy to how they got the information.
  3     BY MR. GIBBENS:
  4          Q. Okay.     You can answer the question.
  5          A. Say the question again, Mr. Gibbens.
  6          Q. I said, did the information about what
  7     Mr. McKesson was -- when the police were
  8     telling you what they thought Mr. McKesson was
  9     coming in to do, do you know if that was based
 10     on information that came from an informant, or
 11     was that based on, you know, some kind of
 12     investigation that Baton Rouge police did by
 13     talking to other police departments and
 14     looking at what Mr. McKesson was posting on
 15     Twitter?
 16               MS. GRODNER:
 17                    I'm going to object to the
 18               compound, vague nature of the question.
 19               I think it's confusing.
 20     BY MR. GIBBENS:
 21          Q. Okay.     You can answer.
 22               MS. GRODNER:
 23                    Son, I'm on a depo.          I'll call you
 24               back.
 25          A. My understanding, Mr. Givens, was --

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  1   I'm sorry, Gibbens, my understanding, I mean,
  2   this was so long ago, but when we sat down to
  3   talk about it, I remember them just talking
  4   about talking to the police departments and
  5   all of that, but also that they had an
  6   informant on the ground, so this is after he
  7   got here.      Once he got to Baton Rouge, there
  8   was somebody that was listening to a lot of
  9   the meetings he was having with the New Black
 10   Panther Party and some black activists in
 11   North Baton Rouge where they met at a store
 12   where Alton Sterling was shot, so I know they
 13   had an informant on the ground during those
 14   meetings.
 15   BY MR. GIBBENS:
 16        Q. Okay.     Now, can you give me any names
 17   of anyone who actually told you these things?
 18        A. We had several -- several police
 19   officers, if you're talking about my side on
 20   the police department, we had --
 21        Q. Yes.
 22        A. -- several police officers talking
 23   during several meetings, so, I mean, it's
 24   just -- I don't -- I'm not really sure.              I
 25   mean, I -- I -- I can't even remember the main

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                                                                                  21
  1     guy's name.     He's retired, since retired.
  2          Q. Okay.
  3          A. But I can't even remember his name, but
  4     I can --
  5               THE COURT REPORTER:
  6                    I'm sorry.      You're kind of
  7               freezing, Mr. Ford.        I'm sorry.
  8               THE WITNESS:
  9                         Just a little bit.
 10               THE COURT REPORTER:
 11                         Okay.
 12               MS. GRODNER:
 13                    Your last thing you said was there
 14               were several police officers talking
 15               during meetings and I think you froze
 16               up then.     Go ahead.
 17               THE WITNESS:
 18                    Okay.       Donna, I got a little bit
 19               of what you said.
 20               MS. GRODNER:
 21                    Okay.
 22               THE WITNESS:
 23                         I can hear you now.
 24               MS. GRODNER:
 25                    Okay.       You were saying that

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  1             several police officers were talking
  2             during the meetings and then you froze
  3             up.
  4                   Was there something else that you
  5             wanted to add to that?
  6             THE WITNESS:
  7                       It -- (audio distortion).
  8             THE COURT REPORTER:
  9                   We're not understanding anything,
 10             Mr. Ford.      You're breaking up.
 11             MS. GRODNER:
 12                   Your Wi-Fi connection is unstable.
 13             THE WITNESS:
 14                       I can hear you now.
 15             MS. GRODNER:
 16                   Okay.    Your Wi-Fi connection is
 17             unstable.      Is there a business
 18             office --
 19             THE WITNESS:
 20                   Yeah, there's Wi-Fi in this hotel
 21             room.
 22             MS. GRODNER:
 23                   Sir?    Do you have a Wi-Fi -- do
 24             you have a Wi-Fi connection?           Mr. Ford,
 25             can you hear me?

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                                                                                   23
  1               THE WITNESS:
  2                         (Inaudible) -- my phone.
  3               MS. GRODNER:
  4                    Sir?
  5               THE WITNESS:
  6                    I may try to hotshot off my phone.
  7               Let me see.        Can you hear me now?
  8               MS. GRODNER:
  9                    I can hear you.
 10               THE WITNESS:
 11                    I keep freezing up.           This Internet
 12               is bad.
 13               MS. GRODNER:
 14                    Yeah.       Does the hotel have a
 15               Wi- -- does the hotel have a Wi-Fi?
 16               THE WITNESS:
 17                    That's what I'm on.
 18               MS. GRODNER:
 19                    Okay.       Their bandwidth is kind of
 20               narrow.      Do they have a business office
 21               there in the hotel downstairs where
 22               they make copies or anything?
 23               THE WITNESS:
 24                    I don't think -- They might have a
 25               media room in there.

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  1             MS. GRODNER:
  2                  Okay.    They might have -- you
  3             might be closer to the Wi-Fi source if
  4             you were there with your laptop.
  5                  Do we want to take ten minutes and
  6             let him go downstairs and see if we can
  7             get a better connection from the
  8             business office?
  9             THE WITNESS:
 10                  I can -- (witness froze).
 11             MR. GIBBENS:
 12                  Yeah, that's fine with me.
 13             MS. GRODNER:
 14                  Okay.    It is -- I've got 3:19.          Do
 15             we want to say 3:30?        You want to just
 16             walk your laptop down and see if your
 17             signal doesn't get better as you get
 18             closer to the router, I guess, on the
 19             first floor?
 20             THE WITNESS:
 21                  I'll try that.
 22             MS. GRODNER:
 23                  Okay.    Okay.    We'll be here when
 24             you get back --
 25             MR. GIBBENS:

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                                                                                  25
  1                    All right.
  2               MS. GRODNER:
  3                    -- or when you get there.
  4                    Sorry about that, everybody.            It
  5               happens every now and then.
  6               MR. GIBBENS:
  7                    That's okay.
  8               THE COURT REPORTER:
  9                    Okay.       We're off the record?
 10                    (Witness relocating).
 11                    (Off-the-record discussion).
 12               THE COURT REPORTER:
 13                    All right.      Back on the record?
 14               MR. GIBBENS:
 15                    Yes.
 16     BY MR. GIBBENS:
 17          Q. All right.         Okay.   Mr. Ford, I was,
 18     when we left, I was trying to see if you could
 19     give me any names of anyone who, you know,
 20     specifically who told you any of these things
 21     about Mr. McKesson and his plans in Baton
 22     Rouge, and I think your answer was you
 23     can't -- you don't remember any names in
 24     particular?
 25          A. No, sir, I don't.          Like I said, we had

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                                                                                  26
  1   like a few meetings in two days.            A lot of
  2   information was passed on to us.            I just -- I
  3   can't for the life of me remember anybody
  4   specifically that was heading the meetings,
  5   and it was different officers heading
  6   different meetings.
  7        Q. Uh-huh.     Okay.       Can you at least give
  8   me any names of people that, you know, that it
  9   could have been, people who, you know,
 10   typically spoke at these meetings and gave you
 11   information?
 12        A. I do remember one and, like I said, I
 13   cannot remember his name.           I can see his face
 14   and I know him.       And I believe he was a
 15   captain.
 16             Lord, they got a TV going in here.
 17             I cannot remember his name.             I can see
 18   his face as plain as day.
 19        Q. Okay.     And what did this person tell
 20   you?
 21        A. Basically -- basically what I stated
 22   earlier with -- that they had been getting
 23   intel that DeRay McKesson was coming to Baton
 24   Rouge, he was going to be the leader of the
 25   Black Lives Matter protests.

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  1               And not in the same meeting, I don't
  2     believe, I think it was a little bit later,
  3     but they told us that the New Black Panther
  4     Party was also coming and that we were told
  5     that they would be armed, and that was a day
  6     or two before the actual protest.
  7          Q. Okay.    So there were two separate
  8     meetings where you were told some information
  9     about Mr. McKesson?
 10          A. Yes, sir.
 11          Q. And one of these meetings it was
 12     possibly a captain who you can't -- you can
 13     picture, but you can't remember the name?
 14          A. He was in Operations.
 15          Q. Okay.    And at the second meeting, was
 16     it the same person or was it a different
 17     person that was telling you?
 18          A. They were all present in every meeting,
 19     like I said, but, you know, different people
 20     gave different pieces of information, you know
 21     what I'm saying, so it's like it wasn't just
 22     one person always talking to us.
 23          Q. Okay.    Got it.     Let me give you a few
 24     names and you tell me if any of these people
 25     had anything to do with this.

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  1             So David Kennedy, do you know who that
  2   is with Baton Rouge police?
  3        A. Yeah.     He was on my team.
  4        Q. Okay.     Did he give you any information
  5   about --
  6        A. No, there were --
  7        Q. -- Mr. McKesson?
  8        A. They wouldn't -- all of us were on the
  9   Street Crimes Unit.        We didn't -- we didn't
 10   have privy to none of that information.
 11        Q. Okay.     What about Nick Collins?
 12        A. No.    He's on Street -- Street Crimes.
 13        Q. Okay.     What about Troy Lawrence?          Do
 14   you know who that is?
 15        A. Yes.     He was -- he was our sergeant in
 16   Street Crimes.
 17        Q. Okay.     So would he have been getting
 18   this information?
 19        A. No, sir.
 20        Q. Okay.     What about Lorenzo Coleman?
 21        A. No, sir.      He was also a sergeant with
 22   Street Crimes.
 23        Q. Okay.     What about Ronald Norman?
 24        A. No, sir.      He was a corporal with Street
 25   Crimes.

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  1          Q. Okay.    How about Jesse Barcelona?
  2          A. No, sir.
  3          Q. Who was that?
  4          A. He was Street Crimes.
  5          Q. What about Fred Thornton?
  6          A. No, sir.     He was Street Crimes.
  7          Q. Okay.    Brandi Hayworth?
  8          A. I don't remember who that is.
  9          Q. Okay.    And what about Joseph Hill?           Do
 10     you know who that is?
 11          A. I don't remember him.
 12          Q. Okay.    Because they -- both of these
 13     people were listed, Hayworth and Hill, were
 14     listed in your interrogatory responses as
 15     potential witnesses in the case.
 16               Did you give those names to
 17     Ms. Grodner?
 18               MS. GRODNER:
 19                    Objection.
 20          A. Yes.
 21               MS. GRODNER:
 22                    Objection.     We're not going to
 23               have any discussions about what he told
 24               me or didn't tell me, so you need to
 25               rephrase your question, Counselor,

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                                                                                 30
  1             please.
  2   BY MR. GIBBENS:
  3        Q. All right.      Brandi Hayworth and Joseph
  4   Hill, did those names come from you?
  5        A. Say that one more time.
  6        Q. Did Brandi Hayworth and Joseph Hill,
  7   are either of those names -- are either of
  8   those individuals people that you -- that
  9   you're aware of that have any knowledge about
 10   this case?
 11        A. Yeah, I believe I know those officers
 12   as different names.        If I saw a picture of
 13   them, I could tell you for sure.
 14        Q. Okay.     So do you -- do you recognize
 15   those names or no?
 16        A. Parts of the names, but I don't know --
 17   I can't put a face to that name right now.
 18        Q. Okay.     Are those -- is Brandi Hayworth,
 19   is she somebody that you know from working in
 20   Street Crimes?
 21        A. I don't believe, no.         She was not in
 22   Street Crimes.
 23        Q. Okay.     Was she in Operations?
 24        A. She worked for the department, but I
 25   couldn't tell you what division.

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  1          Q. Okay.    Was she -- was she one of the
  2     people who would have given you information
  3     about what Mr. McKesson was doing?
  4          A. No.
  5          Q. Okay.    And how about Joseph Hill, was
  6     Joseph Hill -- did he work in Street Crimes?
  7          A. No, sir.
  8          Q. Okay.    Do you know where he worked?
  9          A. No, sir.
 10          Q. Was he -- did he work for Baton Rouge
 11     Police Department?
 12          A. Yes, sir.
 13          Q. And was he one of the people that would
 14     have given you information about what
 15     Mr. McKesson was doing?
 16          A. I don't believe so.
 17          Q. Okay.    Okay.     So aside from the -- you
 18     told -- you told me about there were two
 19     meetings talking about what was -- what might
 20     be happening in Baton Rouge after Alton --
 21     after the Alton Sterling shooting.
 22               Were there any more meetings about that
 23     or were there just the two?
 24          A. I -- I remember having several meetings
 25     throughout the days leading to the protests

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                                                                                 32
  1   and, you know, as far as the information that
  2   was given to us was pretty much everything I
  3   just told you, but it was over, you know,
  4   several meetings, and if they heard anything
  5   else, they would -- they would let us know and
  6   pass it down.
  7        Q. Okay.     Now, as far as the -- one of the
  8   things you mentioned was that you heard that
  9   there was going to be a meeting between
 10   Mr. McKesson and some -- and the New Black
 11   Panther Party?
 12        A. Yes, sir.
 13        Q. Is that one of the things?          Now, did
 14   you -- did you ever hear that that meeting
 15   actually occurred?
 16        A. Yes, sir.
 17        Q. Okay.     When did that meeting occur?
 18        A. That would have been, I think, the
 19   morning -- the morning of the protests I
 20   believe that meeting occurred, because we did
 21   get intel that McKesson met with the New Black
 22   Panther Party and some, I was told, black
 23   activists from North Baton Rouge.           I wasn't
 24   given the names of who that would be, but I
 25   was told it was some activists from black --

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                                                                                 33
  1     you know, from North Baton Rouge, and that
  2     McKesson had told them, you know, pretty much
  3     what they was going to do.
  4          Q. Okay.    And what was -- what did he tell
  5     them to do?
  6          A. From what they told us, the informant
  7     told them that they wanted to try to overwhelm
  8     the police department with numbers, that they
  9     had several coming from out of state or that
 10     was already there, I guess, but they were
 11     going to block that highway right in front of
 12     the police department, which is Airline
 13     Highway, and that they -- they wanted to cause
 14     a response from the police department, and
 15     told us, you know, be careful and make sure
 16     that laws were being broken if we were going
 17     to make contact with the protesters, you know,
 18     that kind of information, and that they were
 19     looking to get us to make some arrests is what
 20     they wanted.
 21          Q. Okay.    Do you have any names of the
 22     people that Mr. McKesson met with?            Did they
 23     provide any of that information?
 24          A. I don't remember any names being given
 25     to us, just -- just by party and activists.

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  1        Q. Okay.     And, again, this, what you're
  2   telling me now, this is something -- you
  3   don't -- you can't give me the name of the
  4   person that told you this information?
  5        A. No, sir.      Like I said, it was so long
  6   ago.    I -- I just can't remember who all
  7   spoke, but it was several people that spoke
  8   throughout the couple of days, but I know that
  9   Operations was pretty much the ones giving out
 10   the information, the intel that they were
 11   receiving from their sources.
 12        Q. Okay.     All right.     Let's talk about the
 13   protest itself.       So this was on July 9th of
 14   2016.
 15             How did you find out that the protest
 16   was actually happening?
 17        A. Just through those meetings.             And I
 18   believe the first time I heard that they were
 19   coming to Baton Rouge would have been my
 20   supervisors inside of the Street Crimes Unit,
 21   which would be Troy Lawrence and Lorenzo
 22   Coleman, told us that, you know, we needed to
 23   start getting ready, that we had protests
 24   coming, you know, but that was pretty much a
 25   vague thing, but nothing official until we had

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                                                                                 35
  1     the meeting with the Operations people.
  2          Q. Okay.    But then -- then on the -- when
  3     the protest actually started, somebody -- did
  4     somebody assign you to go out -- to go out
  5     there and do anything?
  6          A. Yes, sir, I see what you're saying.
  7     The best I can remember, when the protest
  8     actually started and people were gathering up,
  9     we were called on the radio and told to report
 10     back to the police department.          My team showed
 11     back up to the police department, and that's
 12     when we were told, hey, you know, they're
 13     gathering up, so we started getting ready for
 14     them blocking highways, because we was already
 15     told they was going to block highways.
 16          Q. Okay.    And so where did you -- where
 17     were you assigned to go?
 18          A. I was actually assigned to the Arrest
 19     Team.    My whole team became the Arrest Team.
 20          Q. Okay.    And where, physically, where
 21     were -- where did you go?
 22          A. Everywhere, but I guess if -- we
 23     started at the police department, on the
 24     grounds of the police department, so we were
 25     on foot in front of the police department in

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                                                                                 36
  1   the beginning.
  2        Q. Okay.     During the protest, did you ever
  3   see Mr. McKesson?
  4        A. Yes, sir, several times.
  5        Q. All right.      Tell me about that.        Where
  6   did you see him?
  7        A. The first time I saw him was when they
  8   were out into the road blocking Airline
  9   Highway.      And throughout the protest, he was
 10   in the Circle K parking lot and walking down
 11   Airline Highway.       I saw him downtown, also, at
 12   a different time.
 13        Q. Okay.     So let's start with the first
 14   time.    The first time you saw him was at --
 15   did you say that was on Airline Highway?
 16        A. Yes, sir.      They was over there on the
 17   corner of Goodwood Boulevard, which runs
 18   beside the police department, and Airline
 19   Highway.      There's a Circle K there, store, and
 20   that's where everybody gathered up in the
 21   beginning.
 22        Q. Okay.     And what was -- what was
 23   Mr. McKesson doing?
 24        A. He was just leading the crowd, just --
 25   I know that they were -- he was talking to a

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  1     lot of people.      He had New Black Panther Party
  2     that was all standing around him.             We kept a
  3     good eye on them because they were all armed.
  4     Every one of them had guns.
  5               And, you know, while I was positioning
  6     with my team to move to the corner of our
  7     police lot, that's when they had all started
  8     walking out into the highway.          The --
  9     McKesson, the New Black Panther Party, was
 10     all -- they were all in the front with the
 11     guns, and then, you know, a lot of the crowd
 12     followed them out into the highway.
 13          Q. Okay.    So how did you -- how did you
 14     know that it was Mr. McKesson?
 15          A. Well, we were shown a picture of him,
 16     and plus I kind of did my own research once we
 17     found out he was coming, I started looking,
 18     and we were shown police, not police, but the
 19     police showed us pictures of him so we would
 20     know who he was.
 21          Q. Okay.    And do you know what he was
 22     wearing?
 23          A. I believe that day he had a T-shirt on.
 24     I can't remember -- it had something on the
 25     front of it.     I can't remember.          I can't

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  1   recall for sure what he -- what it had written
  2   on it.
  3        Q. Okay.     But he was just in a T-shirt?
  4        A. As far as I can remember, yes, sir.
  5        Q. Okay.     Now, you said you heard -- you
  6   heard him talking to a lot of people.             What
  7   did -- did you hear anything in particular
  8   that he said?
  9        A. Well, the casual conversations, no.
 10   There was too much traffic and it was loud out
 11   there.    But I could hear his chants and stuff
 12   like that.
 13        Q. Okay.     What did you hear him say?
 14        A. The main thing they started off with
 15   was no justice, no peace, no racist police.
 16   That was the main chant that I actually heard
 17   him from his own voice say.
 18        Q. Okay.     Besides that, did you hear him
 19   say anything else?
 20        A. Nothing personal, no.
 21        Q. Okay.
 22        A. No -- no personal conversation.
 23        Q. Okay.     And this is just -- and so
 24   I'll -- I know there's some other times that
 25   you saw him and I'll -- I wanted to ask you

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  1     about those in particular, but the whole --
  2     the whole day, were those the only things that
  3     you heard him say, no justice, no peace, no
  4     racist police?
  5          A. No, I heard him when they were -- there
  6     were several things that were shouted.              I did
  7     hear him say stuff about racist cops and stuff
  8     like, they murdered Alton Sterling, just
  9     little short quotes type stuff, you know.
 10          Q. Okay.    So besides -- So you said he
 11     said, they murdered Alton Sterling, something
 12     about racist cops.         Do you remember what in
 13     particular that was?
 14          A. Mr. Gibbens, to be honest with you,
 15     they said so many things about white police,
 16     it was just a lot of -- a lot of hatred, you
 17     know, a lot of hate speech and stuff towards
 18     white police.      This was hours and hours and
 19     hours of stuff, you know, they were -- they
 20     were yelling.      I mean --
 21          Q. Yes.    Well, you're saying "they," but
 22     I'm just asking -- I just want to know
 23     specifically --
 24               THE COURT REPORTER:
 25                    Wait.       I'm sorry, ma'am.      You're

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                                                                                 40
  1             muted, Ms. Grodner.
  2             MS. GRODNER:
  3                  I don't think he was finished with
  4             his answer.      I think he was -- he was
  5             just saying there were hours and hours
  6             and I think you cut into what he was
  7             saying about --
  8             MR. GIBBENS:
  9                  Go ahead.
 10             MS. GRODNER:
 11                  -- the things that he was hearing
 12             DeRay say over those hours and hours.
 13   BY MR. GIBBENS:
 14        Q. Go ahead.      I didn't mean to cut you off
 15   if you have more to say.
 16        A. They -- Yeah.       It was so many hours,
 17   Mr. Gibbens, you know, it would be impossible
 18   unless I wrote it down, you know, but he
 19   chanted a lot of hate speech towards white
 20   police officers in particular, a lot of stuff
 21   about KKK, that we're just the new KKK, and
 22   stuff like that.       There's a lot of hate speech
 23   that I heard.
 24        Q. Okay.     And so a couple of times,
 25   though, you said "they were saying," so I'm

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  1     just trying to get what did -- what did you
  2     hear DeRay McKesson say?
  3          A. That's -- that's what I heard him say.
  4          Q. Okay.    What did you -- what did you
  5     hear him say about KKK?
  6          A. That, like, the police were the new
  7     KKK.
  8          Q. Okay.    And anything else he said
  9     besides they murdered Alton Sterling and the
 10     police are the new KKK?
 11          A. I can't recall anything else.            Just a
 12     lot of hate speech.
 13          Q. Okay.    All right.      So you first saw him
 14     at the corner of Goodwood and Airline, and at
 15     that time he was with the members of the New
 16     Black Panther Party and talking to a lot of
 17     people.     I think that's what you said at that
 18     point.
 19               Was he doing anything else?
 20          A. No, sir.     Just, you know, I think he
 21     was getting them ready to walk into the
 22     highway about the time that I was walking up
 23     to them, the corner of the police department.
 24          Q. And why do you think that he was
 25     getting them ready to walk out?

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  1         A. Well, they were following him all over
  2   the area.     I mean, anywhere he was going, they
  3   were following with him.         And when he walked
  4   up to the New Black Panther Party, you know, a
  5   crowd walked with him to them, and they
  6   stopped and conversed for -- and, like I said,
  7   I don't know what he said, it was too loud,
  8   you know, too much noise, but after a short
  9   little time that they stood there is when they
 10   all walked out into the highway.
 11         Q. Okay.    What -- did you -- did you see
 12   him directing people where to go or what to
 13   do?
 14         A. He was directing them with his body
 15   language moving around.         They were moving with
 16   him.    They just followed him and New Black
 17   Panther Party when they walked out to the
 18   highway.
 19         Q. Okay.    Was he -- you say he was
 20   directing people with his body language.              What
 21   do you mean by that?
 22         A. Well, you know, just -- just by his
 23   body language, you know, of him moving people
 24   from one area to the next, and once they moved
 25   to where the Black Panthers were, like I said,

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  1     they stopped there, but everybody was
  2     following him, and the New Black Panther Party
  3     and him, when they started moving back out
  4     towards the road, they all -- the whole crowd
  5     started following him.
  6          Q. Okay.    Did you see him making any hand
  7     gestures, signaling people, or anything like
  8     that?
  9          A. I don't remember any signaling, like --
 10     like what you're asking, I don't believe.
 11          Q. Okay.    Did you ever -- did you see him
 12     throw anything?
 13          A. I did not see him throw anything
 14     personally.
 15          Q. Did you see him directing anybody to
 16     throw anything?
 17          A. Not personally, no, sir.
 18          Q. Okay.    When you say "not personally,"
 19     are you -- have you been told by anybody else
 20     that they saw -- they saw him throwing things
 21     or directing people to throw things?
 22          A. When I say "not personally," I mean I
 23     didn't see him do it, but, yes, I did hear
 24     them say that he was directing the crowd and
 25     that he was kind of agitating the crowd to do

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  1   certain things, to commit crimes and stuff, as
  2   far as walking out into the road, but I wasn't
  3   standing there like other cops were.
  4        Q. Okay.     So who told you that he was
  5   doing these things?
  6        A. Just other police officers that was out
  7   there.
  8        Q. Okay.     Can you give me any names?
  9        A. I -- Mr. Gibbens, that's so long ago.
 10   I don't know who it all was.          We had several
 11   agencies out there that wasn't even with Baton
 12   Rouge Police Department.
 13        Q. Okay.     And what did these people tell
 14   you?
 15        A. This was after the fact, but, you know,
 16   just talking around the police department,
 17   they were talking about how DeRay was
 18   agitating the crowd to do certain chants, he
 19   was agitating the crowd to move out into the
 20   highway to block traffic, and so forth.
 21        Q. Okay.     Anything else?      Did they tell
 22   you he was doing anything else?
 23        A. I'm sure they did.         If I can recall
 24   anything, I'll let you know.          I'll let you
 25   know if I -- if I can remember anything.

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  1          Q. Okay.    And so let me ask you then
  2     specifically about some of these people that
  3     were in the Street Crimes with you.
  4               So David Kennedy, was he -- was he out
  5     there with you at the protest?
  6          A. Yes.
  7          Q. Okay.    Did he tell you about anything
  8     that he saw DeRay McKesson do?
  9          A. I don't recall anything specific.             Just
 10     everything that I saw pretty much he saw, I
 11     guess, because we were all standing together.
 12          Q. Okay.    What about Nick Collins?
 13          A. Same.
 14          Q. He didn't -- you don't remember him
 15     telling you anything specific about
 16     Mr. McKesson?
 17          A. Not in that first initial push into the
 18     road, no, but later on, about him getting in
 19     the highway when he was arrested.
 20               (Reporter clarification).
 21          A. When he was arrested later on.
 22          Q. Okay.    What did -- what did Mr. Collins
 23     tell you?
 24          A. That he walked out into the highway
 25     after being warned several times and that's

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  1   when he was arrested.
  2        Q. Okay.     Did Collins tell you that he saw
  3   DeRay throwing anything?
  4        A. No.
  5        Q. Did he tell you that he saw DeRay
  6   instructing anybody else to throw anything?
  7        A. No, I don't believe so.
  8        Q. Okay.     What about Troy Lawrence, did he
  9   tell you anything about Mr. McKesson?
 10        A. It would be the same as the rest of the
 11   Street Crimes, like I said.          We all -- we all
 12   were together pretty much most of that day.
 13        Q. Okay.     And so that was what you --
 14   that -- that he was agitating the crowd and
 15   doing certain chants?
 16        A. That was -- if anybody told me that, it
 17   would have been the Shield Team or another
 18   agency that were right there with the
 19   protesters when we first arrived.
 20        Q. Okay.     So what about Troy Lawrence
 21   then, what did he tell you about?
 22        A. He saw what I saw is what I'm saying.
 23   He was -- we were all together.
 24        Q. Okay.     So he didn't tell -- but did he
 25   tell you anything that he saw?           I mean, he --

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  1     So let me just say it this way.             Did he -- he
  2     didn't -- he didn't tell you anything that you
  3     hadn't seen for yourself, Troy Lawrence?
  4          A. Correct.
  5          Q. Okay.    What about Lorenzo Coleman?
  6          A. Same.
  7          Q. Okay.    He didn't -- he didn't tell you
  8     anything that you hadn't seen or heard for
  9     yourself?
 10          A. Correct.
 11          Q. What about Ronald Norman?
 12          A. Same.
 13          Q. Jesse Barcelona?
 14          A. Same.
 15          Q. Fred Thornton?
 16          A. Same.
 17          Q. Okay.    And then I know these two we're
 18     not sure who they are, but Brandi Hayworth, --
 19          A. No.
 20          Q. -- do you remember her telling you
 21     anything about what happened at the protest?
 22          A. Not right off, I do not.
 23          Q. Okay.    And what about Joseph Hill?
 24          A. No, sir.
 25          Q. Okay.    Did anybody tell you that they

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  1   saw Mr. DeRay, Mr. McKesson throwing anything
  2   at the protest?
  3        A. I don't remember anybody telling me
  4   that they saw him throw anything.           They -- I
  5   know I personally saw him with a water bottle
  6   in his hand, but I never saw him throw a water
  7   bottle.       But as far as anybody saying they saw
  8   him throw anything, I don't have anybody that
  9   told me that that I -- that I remember.
 10        Q. And what about, did anybody tell you
 11   that they saw -- they saw him directing other
 12   people to throw anything?
 13        A. No, I don't remember anyone telling me
 14   that they saw him directly tell somebody to
 15   throw anything.
 16        Q. Okay.     Did anybody tell you that they
 17   heard him telling people to go out into the --
 18   into Airline Highway?
 19        A. Yes.
 20        Q. Okay.     And who was that?
 21        A. About half the Shield Team, I guess.              I
 22   don't know names specifically, but there were
 23   several people out there when he was telling
 24   them to block the roads.
 25        Q. Okay.     And so they -- somebody told you

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  1     that they heard DeRay say -- telling people to
  2     block the road?
  3          A. Yes, to go out into Airline Highway.
  4          Q. So let me just make sure we're clear on
  5     what it was that he said.         Was he telling
  6     people to go out into Airline Highway or was
  7     he telling people to block the road?
  8          A. Go out and to block the traffic coming
  9     down Airline Highway.        But as far as
 10     specifically how he worded it, I'm not sure.
 11          Q. Okay.    Now, at some point in the --
 12     well, let me -- let me see before we get to
 13     this.
 14               So you said that you saw him at the
 15     corner of Goodwood and Airline and that was in
 16     the -- was he in the street at that point?
 17          A. When I first saw him, he was in the
 18     parking lot.
 19          Q. The Circle K parking lot?
 20          A. Yes, sir.
 21          Q. Okay.    And then you saw him walking
 22     down Airline?
 23          A. Yeah.    That was much later in the -- in
 24     the evening.
 25          Q. Okay.    And then I think -- and then --

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  1   and then the last time you said you saw him
  2   downtown?
  3        A. Yes, sir.      They had some protests
  4   downtown, too, that we went to.
  5        Q. Okay.     So that -- All right.          When was
  6   it -- at some point I think you were -- you
  7   were hit with something, a rock or a piece of
  8   concrete or something?
  9        A. Yes, sir.
 10        Q. Okay.     When did that happen?
 11        A. That was late in the evening.            I
 12   believe it's going to be between 10:00 and
 13   11:00 p.m.
 14        Q. Okay.     Do you know where Mr. McKesson
 15   was at that time?
 16        A. He was in the crowd.         I had just seen
 17   him probably two minutes before that happened,
 18   but as far as exactly the exact time, I don't
 19   know where he was standing in the crowd.
 20        Q. Okay.     And this -- at this point, where
 21   were you?
 22        A. We were behind the shield guys and,
 23   like I say, we was on the Arrest Team, so we
 24   were arresting agitators, and I had just went
 25   into the crowd to make an arrest when I got

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  1     hit.
  2          Q. Okay.    But this was on -- was this on
  3     Airline Highway?      Was this downtown?
  4          A. Oh, I'm sorry.       This was -- we were
  5     standing on Airline Highway pushing the crowd
  6     back into the Circle K parking lot.
  7          Q. Okay.    And you were -- and you said you
  8     were going to -- you were going in to make an
  9     arrest and that's when you got hit in the
 10     head?
 11          A. Yes, sir.
 12          Q. Okay.    And did you actually -- did you
 13     arrest anybody at that time?
 14          A. Yes, sir.
 15          Q. Okay.    So you got -- just -- I guess if
 16     you can kind of narrate for me what happened
 17     here.
 18          A. Basically, we -- there was a lot of
 19     stuff being thrown into the roadway and in our
 20     direction, toward the police from that parking
 21     lot.    We were identifying agitators, and so we
 22     had people, like my sergeant, telling us when
 23     to go in to make the arrest.          We would -- we
 24     would actually point out who we was going to
 25     get based on who was agitating the crowd.

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  1   I -- the shields opened, I went into the
  2   crowd, and I had to chase my guy just a little
  3   ways.    I caught him in kind of like a bear
  4   hug-type hold and was bringing him back
  5   towards the shields, back into the highway to
  6   get behind the shield guys, and I looked back
  7   for a second to make sure nobody was running
  8   at me.    There was people running everywhere at
  9   this time.     It was very chaotic.        When I
 10   turned and looked backward, back behind me,
 11   that's when I got hit in the -- in the face.
 12        Q. Okay.     So this -- the person that you
 13   went to arrest was -- did you identify that
 14   person as an agitator or did somebody tell you
 15   he was an agitator?
 16        A. I -- well, actually, I identified him.
 17   He was yelling and coming up and hitting the
 18   shields and doing, you know, agitating, trying
 19   to get the crowd to come back into the roadway
 20   and stuff.
 21        Q. Okay.     And about how -- do you have any
 22   idea about how many people were arrested that
 23   day?
 24        A. Ooh, there was a lot.         I'd be afraid to
 25   give you a number, sir.         I don't really --

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  1     there was a lot of people.
  2          Q. But as far as your unit and your
  3     participation, the people that you all were
  4     arresting were people who had been identified
  5     as people who were agitating the crowd?
  6          A. Yes, sir.
  7          Q. All right.         So you had arrested this
  8     guy, and do you have any record of who that
  9     person -- who the person was that you arrested
 10     when you got hit?
 11          A. I don't personally have it with me, no.
 12     I don't know what his name was, but I'm sure
 13     there is a record of -- I know once I got hit,
 14     he and I both fell down, because I drug him
 15     down with me when I fell, but I handed him off
 16     to another police officer because I was
 17     injured.
 18          Q. Okay.
 19          A. And so I don't know if that other
 20     officer actually did the arrest.             I'm sure he
 21     did, because I think I went home shortly
 22     after.
 23          Q. Okay.    So tell me about the injury.
 24     You were hit in the head.          Do you know what
 25     you were hit with?

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  1        A. Well, it tasted like a piece of
  2   asphalt-type grainy, you know, substance.              It
  3   was a hard either rock or some type of
  4   asphalt.
  5        Q. Okay.     So you said it tasted.         It hit
  6   you in the mouth?
  7        A. Yes, sir.
  8        Q. Okay.     And you, when you got hit, you
  9   handed off the person you had arrested to
 10   somebody else.      Do you know who that was?
 11        A. I do not.      I had several officers
 12   around me and I just started asking for help
 13   and one of the officers come and grabbed him.
 14   I guess they could see the blood on my face
 15   and stuff.
 16        Q. Okay.     And what did you do?       Did you go
 17   to the hospital?
 18        A. Well, I left, and I believe -- I can't
 19   remember if I went to the emergency room first
 20   or if I went to the dentist first, but I had
 21   a -- I went and sit in a dental chair I know
 22   from about midnight to about 4:00 in the
 23   morning, and I got seen for a concussion, was
 24   diagnosed with a concussion after that.
 25        Q. Okay.     So you went to a dentist, and

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  1     who was the dentist?
  2          A. Dr. Hughes.
  3          Q. Okay.    And what did Dr. Hughes do for
  4     you?
  5          A. I had several teeth in the front, some
  6     were broken completely out, some were broken
  7     in half, and I think some were pushed up,
  8     like, towards the roof of my mouth, so he just
  9     repaired what he could repair that night and
 10     then we ended up doing like a, I think it's
 11     called a bridge.      I don't know all the
 12     technical terms of what he did, but he just
 13     fixed my teeth a little bit for me that night.
 14          Q. Okay.    All right.      And I take it you
 15     probably -- did you have some other dental
 16     work you had to have done after that?
 17          A. Yes, sir.     I think I did total like 18
 18     hours in a chair.
 19          Q. Okay.    Okay.     And then you said you
 20     were also -- were you also diagnosed with a
 21     concussion?
 22          A. Yes, sir.
 23          Q. And who diagnosed you with that?
 24          A. I can't remember the doctor's name, but
 25     I'm sure we have it.        But it was a neuro, I

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  1   guess a -- I can't remember the doctor's name.
  2   Ms. Donna might have that.
  3             MS. GRODNER:
  4                  (Nods head).
  5   BY MR. GIBBENS:
  6        Q. Yeah.     Well, where did that -- did
  7   you -- were you -- did you go to the hospital
  8   for that?
  9        A. Yes, sir.
 10        Q. And when was that?          The same night that
 11   this happened?
 12        A. I thought it was the same night.
 13        Q. Uh-huh.     Okay.       And what did they do
 14   for you with the concussion?
 15        A. I don't remember everything they did.
 16   They just asked me a lot of questions.              They
 17   did a -- I think they did X-rays.            I know they
 18   ran some tests and they told me I had a
 19   concussion, and I had to go through concussion
 20   protocols for the police department, they have
 21   policies, and I was put on medical leave
 22   basically at that time.
 23        Q. Okay.     How long were you on medical
 24   leave?
 25        A. I want to say two or three days.

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  1          Q. Okay.    And did you end up going back to
  2     work eventually?
  3          A. Yes, sir.
  4          Q. And you were on medical leave for those
  5     two or three days because of the concussion
  6     protocol?
  7          A. Yes, sir.
  8          Q. Got it.     Okay.    Did you have any other
  9     injuries from the -- from this asphalt hitting
 10     you, aside from --
 11          A. I remember my lip was cut.           My tongue
 12     was cut.    The inside of my cheek had a cut.
 13     Of course, the broken teeth and stuff and the
 14     concussion.
 15          Q. Okay.    Now, are you -- are you claiming
 16     that you've had some, I guess, lingering
 17     effects from the concussion?
 18          A. Yes, sir.     My vision is my biggest
 19     complaint.     Well, my vision and my PTSD, I
 20     believe.    But my vision is -- is -- I still
 21     see the dots and the black marks and those
 22     squiggly clear lines, like, look kind of like
 23     bubbles almost, but, I mean, that's the best
 24     way I can explain it.
 25          Q. Okay.    Have you seen any doctors about

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  1   that?
  2        A. Just that time period of when that
  3   happened.     I'm supposed to go back for the
  4   vision part of it and I'm about to have to
  5   have dental work redone because the teeth are
  6   falling back out of the repair work that I
  7   had.
  8        Q. Okay.     So let me -- let's -- if we
  9   could kind of -- let's go through this
 10   chronologically.
 11             So you, on the day of the incident, you
 12   saw a dentist and you saw somebody who
 13   diagnosed you with a concussion.
 14        A. Yes, sir.
 15        Q. Right?     Okay.    Since that time, what
 16   other doctors have you seen related to this
 17   incident?
 18        A. I saw Dr. Hughes several times, but
 19   that's the dentist.
 20        Q. Uh-huh.
 21        A. I can't remember how many times I went
 22   back, but I went there several times.
 23        Q. Okay.
 24        A. As far as the concussion part of it, I
 25   saw that doctor that day and I believe I went

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  1     back once more, and I can't remember how long
  2     that was, but I was told I would -- I would
  3     need to come back, and I don't think I've been
  4     back yet with my vision part of it.
  5          Q. Okay.    Any other doctors or healthcare
  6     providers that you've seen related to this
  7     injury?
  8          A. No, sir, I don't believe so.
  9          Q. Okay.    And so the doctor for the
 10     concussion, the last time you saw him, was
 11     that in 2016?
 12          A. It may have been in 2017 at the
 13     beginning.
 14          Q. Okay.
 15          A. I can't remember.
 16          Q. All right.         But no other -- but since
 17     that date, have you seen any other doctors for
 18     any kind of brain injury or any kind of brain
 19     problem related to the concussion?
 20          A. I don't recall, no, sir.
 21          Q. So aside from whoever this doctor was,
 22     and we'll have to get those, the doctor for
 23     the concussion and Dr. Hughes, you haven't
 24     seen any other healthcare -- doctors or
 25     healthcare professionals for any treatment or

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  1   diagnosis related to this injury?
  2        A. Not that I recall.
  3        Q. All right.      So tell me a little bit
  4   more about the vision issues that you're
  5   having.
  6        A. Basically it's like black, like, specks
  7   in my vision, like.        Like, when I move my
  8   eyes, it moves with my sight picture, I guess
  9   you would say, to the point to where, you
 10   know, family make fun of me sometimes because
 11   I'm always swatting like there's something in
 12   my face, but there's nothing there, but --
 13   like, it looks like gnats, like, moving.
 14   That's the best way I can explain it, but --
 15   And besides the black dots and specks and
 16   stuff, there's, like, almost like clear
 17   bubbles that I see.        I don't know.     I can't
 18   explain it no better than that.
 19        Q. Okay.     Have any doctors told you that
 20   the vision problems are a result of getting
 21   hit by the asphalt?
 22        A. The doctor that I saw and told, from
 23   best I can recollect, and we'd have to look at
 24   the paper, but I told him that I was seeing
 25   that stuff and he said that could be, you

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  1     know, directly related to the concussion.              And
  2     as far as that goes, I can't remember
  3     everything that was -- that he told me, but
  4     that's just the best I can remember.
  5          Q. Okay.    And then tell me about the PTSD.
  6     You mentioned that.        What's going on there?
  7          A. The incident itself aggravated my PTSD
  8     pretty bad.     At the time that this happened,
  9     you know, I -- I was doing pretty good as far
 10     as my anxiety levels, my fear of crowds or
 11     anything like that, you know, I was having
 12     little to no problems.
 13               But after this incident, all of that
 14     really elevated, so my anger issues started
 15     coming back, my, you know, outbursts as far
 16     as, you know, getting -- getting upset quick,
 17     you know, and having anxiety, a lot of
 18     anxiety.    And as far as being around crowds,
 19     that's pretty much ultimately what got me out
 20     of the police department.         I just couldn't do
 21     it anymore.     I just didn't want to be around
 22     any crowds after that, especially like going
 23     with family to events, you know, like
 24     festivals.     You know, they have a lot of
 25     festivals in Louisiana.         And I just stopped.

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  1   I told them I wasn't going no more.              Stuff
  2   like that really increased.
  3        Q. Okay.     Did you -- did you seek any
  4   treatment for that?
  5        A. At the time, I was already seeing a
  6   person for PTSD, but I had -- I had stopped
  7   going to that doctor, as well, during this
  8   time.     I stopped going to him.        But, no, I
  9   think what we do, veterans kind of counsel
 10   each other on stuff, you know, and police
 11   officers, you know.        I like talking to other
 12   police officers and veterans more than a
 13   doctor.
 14        Q. Yeah.     So the person that you were
 15   seeing for PTSD, have you -- when's the last
 16   time you've seen that -- was this a doctor, a
 17   psychologist, or --
 18        A. Yeah, it was a psychiatrist, I guess,
 19   for the V.A.
 20        Q. When is the last time that you saw that
 21   doctor?
 22        A. During that time frame, somewhere
 23   around there was probably the last time I
 24   talked to him.
 25        Q. Was that before or after the January --

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  1     the July 9th, 2016, protest?
  2          A. I believe before.
  3          Q. Okay.    So aside from the vision
  4     problems, the dental problems, and then the
  5     PTSD, is there anything else, any other kind
  6     of injuries or anything that you're suffering
  7     as a result of getting hit with the -- with
  8     the piece of asphalt?
  9          A. I don't know, you know, if I discussed
 10     with you the psychological effects or not,
 11     but, besides the PTSD, but it's just -- it's
 12     put a hardship on me as far as, you know, with
 13     my family and having to leave a career that I
 14     loved.    I would still be at the police
 15     department today if that injury wouldn't have
 16     happened.
 17               I did not want to seek a new
 18     profession, you know.        I'm 54 years old and
 19     I've had to learn a new profession, and I
 20     absolutely would not have seeked out other
 21     employment if it wasn't for that.
 22          Q. Uh-huh.
 23          A. And that's -- that's depressed me.             I'm
 24     not going to lie to you.         I really miss being
 25     in law enforcement, and everybody that I know,

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  1   they can't believe I got out, and it was
  2   embarrassing.      I didn't want to tell them the
  3   reason I got out, you know, --
  4        Q. Uh-huh.
  5        A. -- but it was -- it was all, you
  6   know -- the vision was the main thing, but
  7   psychologically, you know, I was suffering,
  8   too, and I didn't -- it was embarrassing, you
  9   know.
 10        Q. Uh-huh.
 11        A. I didn't tell a lot of people about
 12   that.
 13        Q. Yeah.     As far as financially, are you
 14   making less money now that you're with your
 15   new job as opposed to what you were making at
 16   the police department?
 17        A. I'd say I probably average about the
 18   same.    At the police department, with overtime
 19   and detail work, I was making about, probably
 20   about the same that I'm making now.
 21        Q. Okay.
 22        A. I need more money.
 23        Q. Don't we all.
 24             MR. GIBBENS:
 25                  I think that's all the questions

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  1               that I have, Mr. Ford, so thank you
  2               very much.
  3               THE WITNESS:
  4                         Thank you, sir.
  5               MS. GRODNER:
  6                    I just have a few follow-ups.
  7     EXAMINATION BY MS. GRODNER:
  8          Q. You talked about having to go into a
  9     new profession.      You remember that?
 10          A. Yes, ma'am.
 11          Q. You went into a new profession and
 12     you're a safety coordinator at Sunland
 13     Construction.
 14               What type of training and licensures
 15     did you have to get to go into this new
 16     profession?
 17          A. To start, Ms. Donna, I had to go to a
 18     100-hour NCCER training course for safety.              It
 19     was a 100-hour course and I got four
 20     certifications for that, and that got my foot
 21     in the door with WHC Energy Services.             I
 22     continued my education.         I went and got OSHA
 23     10 and then I got OSHA 30.         And there's a lot
 24     of other small courses I did that I can't even
 25     remember.     It's a bunch of courses.         But those

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  1   are my main three courses that I -- that I had
  2   to go through.
  3        Q. And you did all that at your own
  4   expense, correct?
  5        A. Yes, ma'am.
  6        Q. And what type of -- were you fully
  7   trained for police department work that you
  8   were doing at the time, and what type of
  9   training and continuing training did you have
 10   under your belt that you had to leave behind?
 11        A. Oh, Lord.      It would take me a couple of
 12   hours.    That I had with the police department?
 13        Q. Yes, sir, that you had to leave behind
 14   when you could no longer work there because of
 15   the vision problems.
 16        A. It's 28 years' worth.         I mean, it's K-9
 17   training, narcotics training, SWAT training,
 18   and these are like -- these aren't hours,
 19   these are, you know, weeks of training at a
 20   time.    Continued training with SWAT is every
 21   day.    You have to train every day for that.
 22   You have to train every day for K-9 besides
 23   your initial school.        Continuing education and
 24   certifications that I would have to go do
 25   annually.     This -- I don't know.        Weeks and

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  1     weeks every year that I would have to
  2     continue, and that's for 28 years.
  3          Q. And did you have to leave all that
  4     training and knowledge behind and start
  5     another career?
  6          A. Yes, ma'am.
  7          Q. Now, you said that you were embarrassed
  8     about the psychological reasons that caused
  9     you to quit.     We talked about the vision, but
 10     you talked about psychological reasons.
 11               Tell us why the vision interfered with
 12     your job and then we'll talk about the
 13     psychological.
 14          A. Well, the vision part of it, you know,
 15     as you know, being a -- as a police officer,
 16     you have to be very distinct.          You have to be
 17     very clear on what you're looking at.             Well,
 18     you know, if you're dealing with suspects,
 19     especially in Baton Rouge, there's a lot of
 20     shootings in Baton Rouge, so you have to be
 21     clear on what you're seeing a suspect in his
 22     hands, and at night it was much worse.
 23               So I just felt like I couldn't clearly,
 24     you know, trust my vision to continue, because
 25     if I thought he had a gun, but he didn't, I'm

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  1   in big trouble.       I could go to prison for
  2   that.    Or if he had a knife or a box cutter,
  3   anything.      I just felt like I was taking a
  4   risk, you know, continuing my service as a
  5   police officer and -- and having all these
  6   vision problems.       I just -- it just made me
  7   nervous.
  8        Q. Now, was it the black dots that you
  9   thought would -- you may confuse for a weapon
 10   of some sort or not see a weapon --
 11        A. Yes, ma'am.
 12        Q. -- or see a weapon?         Can you explain
 13   further exactly what you mean there?
 14        A. Yeah, that's exactly what I mean.
 15   It's, you know, seeing the black dots and
 16   stuff, and every time I move my eyes slightly,
 17   it's like there's a lot of black dots, and it
 18   just got to a point to where it really made me
 19   nervous.      I had a long conversation with my
 20   wife about it, and I just felt it was best to
 21   go ahead and leave the profession because of
 22   that.
 23        Q. And you said you were embarrassed about
 24   the psychological reasons that you left.              Just
 25   for the purposes of your deposition, we do

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  1     need you to go ahead and explain that.
  2          A. Well, you know, coming from the
  3     military background and being in law
  4     enforcement so many years, I always shot a --
  5     I shot a perfect 120 out of 120 every time I
  6     went to the range, you know.          I was real good
  7     at shooting.
  8               When I was looking down my sights after
  9     this, with all the dots and stuff, it was
 10     confusing as far as trying to acquire my
 11     target through the sights because of the black
 12     dots and stuff and, you know, it just -- it's
 13     embarrassing, you know, to -- I felt weaker.
 14     I felt like I was weaker than I was before,
 15     you know, mentally and -- and, you know,
 16     physically, and I just felt like -- I don't
 17     know if -- I kind of felt like a failure.              You
 18     know what I mean?
 19          Q. Did you have confusion or memory loss
 20     at any time after this?
 21          A. Yes.    My short-term memory loss was
 22     kind of bad.     It was getting harder to retain
 23     things, so like if I go to a class that they
 24     put out information for like an hour and then
 25     require a test at the end of it, I couldn't

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  1   retain a lot of stuff like I used to, if that
  2   makes sense.
  3        Q. Did you have any sort of confusion or
  4   dizziness or headaches or anything like that
  5   associated with the concussion?
  6        A. I had a lot of headaches.          A lot of
  7   pain in my jaw, too.        My jaw hurt a lot.        My
  8   neck.
  9        Q. Tell us about your jaw and your neck.
 10        A. My jaw would actually even pop
 11   sometimes when I'd move it, but I remember the
 12   pain in my -- both sides of my jaw, and I
 13   talked to the dentist about it several times.
 14   And I had a lot of headaches.          I did get
 15   lightheaded sometimes.          The confusion there in
 16   the beginning was pretty bad.
 17             But the memory loss, like I said, the,
 18   like, remembering dates and times of things
 19   sometimes, I couldn't remember it.           I think I
 20   did it during this deposition.           I can't
 21   remember this guy's name and I know him very
 22   well.     He's a captain.       That's all I can
 23   remember.       I cannot remember his name, and I
 24   should.       I worked with him for six years.         But
 25   I can't recall him, you know.

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  1               So I do things like that a lot.             I do
  2     it on this job right now, and it's -- it's --
  3     it's a hardship.      It really is.         So I write
  4     everything down.      If you -- if you hang out
  5     with me a little bit, you'll see I got a
  6     notepad and I write a lot of stuff in that
  7     notepad, and that's why I do it, so I can
  8     recall it, you know, on my job now.
  9               So memory loss is a factor, and I can't
 10     retain.     I just can't retain stuff like, you
 11     know.     Normally, before that incident, if they
 12     put out information at a meeting, I could
 13     remember it.     I can go to my car, you know, my
 14     unit and I can remember what was all said, but
 15     I can't do that no more.         I have to write it
 16     down.
 17          Q. When you referenced brain problems,
 18     explain what you meant.
 19          A. Basically that's part of it is
 20     recalling, retaining information, getting
 21     confused on some subjects and stuff like that
 22     is what I mean by the brain injuries.
 23          Q. Now, you talked about -- we talked
 24     about your injuries, but can you tell us about
 25     the initial pain and what it was like when you

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  1   were initially struck with the rock?             And just
  2   give us a general overview of your pain since
  3   that time.      I know it's several years, but
  4   we've been in the Court of Appeals for a
  5   while.
  6        A. At the -- at the time of the injury, I
  7   just remember my head hurting real bad.              My
  8   face got hot.      I can remember my teeth and
  9   gumlines, my jaw was hurting.          My neck was
 10   hurting.      And it was just a pretty sharp pain
 11   in my head.      And my eyes were even kind of
 12   hurting like when I moved my eyes, if that
 13   makes any sense, you know.          Like, when I moved
 14   my eyes, it was a pain associated with that.
 15        Q. And take us forward in time.             Are you
 16   still having any of these specific pains?
 17   Tell us about that.
 18        A. The jaw -- my jaw pain has not been
 19   near as bad as it was.          I can still feel pain
 20   like at certain times when I move it a certain
 21   way, I feel both sides of my jaw, they pop and
 22   it hurts.      My teeth hurt all the time.         That's
 23   never let up.      My eyes, as far as moving my
 24   eyes, that doesn't hurt like it did, but I
 25   just see the different spots and stuff.              I

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  1     still see that.      That's still as bad as it was
  2     the day it happened.         My neck hurts, I'd say,
  3     about the same.      But I don't have headaches
  4     every day like I was having, but I still have
  5     headaches.     That's about all I can recall.
  6          Q. Does anything affect your headaches,
  7     like bright sun or loud noises or anything
  8     like that?
  9          A. Oh, the sunlight.        I do have a -- I
 10     forgot about that.         I'm glad you said that.
 11     But I do have light sensitivity.            I don't
 12     remember having it before that, but now
 13     this -- I had to put tint on my truck.             I had
 14     to re-tint my truck.         The sun hurts my eyes.
 15          Q. Now, let's go back to the parking lot
 16     at the Circle K.      You previously testified
 17     that two minutes before this incident you saw
 18     DeRay in the crowd.
 19               Did he have a water bottle in his hand
 20     when you saw him the two minutes before?
 21          A. Yes, I remember seeing him with a water
 22     bottle.
 23          Q. Now, why don't you tell us about where
 24     did the -- do you know where the water bottles
 25     came from?     If so, explain to us what you saw.

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  1        A. Well, they're going to deny it, Ms.
  2   Donna, but Black Lives Matter went and they
  3   looted the store, the Circle K.           We watched
  4   them loot it, and I know it's on video, and I
  5   don't know why we can't get a copy of it, but
  6   it was on video, but --
  7        Q. Where was DeRay during this looting of
  8   the Circle K?
  9        A. I remember him walking back and forth.
 10   I don't know if he went inside the -- I lost
 11   him a few times, but I know he was in the
 12   parking lot while it was -- you know, the
 13   store was being looted.         They brought several
 14   cases of water out back towards the corner
 15   closest to Airline Highway and Goodwood.
 16        Q. Is that where DeRay got his bottle of
 17   water, from the cases that they sat down by
 18   the corner?
 19        A. Yes, ma'am.
 20        Q. Okay.     So he actually went over and
 21   picked up one of those bottles of water out of
 22   the cases that were looted and sat down on the
 23   corner.
 24             What did they do with those cases of
 25   water that were looted from the store and sat

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  1     down on the corner of Goodwood and Airline
  2     Highway?    What did the crowd of protesters do
  3     with it?
  4          A. I know many of them did get thrown at
  5     the police.     Now, whether they were drinking
  6     on some of them, too, I don't know, but I know
  7     some of them were being hurled at the police
  8     at the time.
  9          Q. Do you know what DeRay did with the
 10     bottle that you saw him with right after
 11     this -- this theft of these water bottles?
 12          A. No, ma'am.
 13          Q. Do you know what he did with his
 14     bottle?
 15          A. No, ma'am.
 16          Q. Do you know if when he was arrested he
 17     had a bottle of water in his hand?
 18          A. I cannot remember.
 19          Q. Okay.    Okay.     Now, you were asked if
 20     you heard him directing.         Do you recall him
 21     saying anything or giving orders?
 22          A. I just recall people moving with him.
 23     Everywhere he would go, they would -- they
 24     would follow him, and when -- like I said,
 25     each time that he went out into the road, the

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  1   crowd followed him.
  2        Q. Okay.     You previously said he was heard
  3   giving orders during the day.          What did you
  4   mean when you said that?
  5             MR. GIBBENS:
  6                  Object to form.
  7             THE WITNESS:
  8                       I didn't hear you.
  9             MR. GIBBENS:
 10                  I'm just objecting, but you can
 11             answer.
 12        A. What did you say, Ms. Donna?
 13   BY MS. GRODNER:
 14        Q. You previously stated he was heard
 15   giving orders throughout the day.           When you
 16   stated that, what was the basis of that
 17   statement?
 18             MR. GIBBENS:
 19                  Objection to form.
 20   BY MS. GRODNER:
 21        Q. Did you hear me?        Did you hear me?
 22        A. Yeah, you asked did I -- did I hear him
 23   give the orders?
 24        Q. No, sir.      I said, you previously stated
 25   that he was heard giving orders throughout the

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  1     day.
  2          A. Yes, ma'am.
  3          Q. What was the basis of you making that
  4     statement?
  5          A. Just to let Mr. Gibbens know that --
  6     that he was out there giving orders, other
  7     police officers did hear him give orders, and
  8     that he did direct them to go out into that
  9     road and block traffic.
 10          Q. Now, you were -- you were talking about
 11     meetings that you had with the higher-ups,
 12     briefings.
 13               You recall that testimony about
 14     briefings?
 15          A. Yes, ma'am.
 16          Q. You said there were several, and then
 17     another place it seemed like there was some
 18     suggestion that there were only two.
 19               Was it several meetings that you all
 20     had, these briefings, or was it only two?              I
 21     wanted you to clarify.
 22          A. There were several.        There were several
 23     meetings.
 24          Q. And do you have any personal knowledge
 25     of how many confidential informants there

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  1   would have been giving information to the
  2   Baton Rouge Police Department?
  3        A. It was going to be more than one, but I
  4   know, and I guess I didn't make it clear to
  5   Mr. Gibbens on that, but they had one that was
  6   actually with the -- I would call it a
  7   kick-off meeting before the protests when they
  8   were with Black Lives Matter and New Black
  9   Panther Party and there was black activists
 10   from North Baton Rouge present, there was an
 11   informant with that meeting.
 12        Q. Now, did you talk to any of those
 13   activists yourself, any of the activists from
 14   North Baton Rouge?
 15        A. No, I didn't talk to them personally.
 16        Q. Did you talk to people from North Baton
 17   Rouge who were at the protests?
 18        A. Yes.
 19        Q. What did they tell you?
 20        A. I've had several that -- a couple I
 21   knew personally from working at the Baton
 22   Rouge Police Department, but there were
 23   several out there just telling me that they
 24   were sorry about all this, that they wanted to
 25   protest the injustice, but they didn't want to

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  1     commit crimes, and that they asked DeRay to go
  2     home personally and that he refused to go
  3     home, that they did not want them from -- all
  4     the people from out of town that was coming,
  5     they wanted them to leave.
  6          Q. And that was -- was that an African-
  7     American person that told you that or was that
  8     a white officer or --
  9          A. African-American.
 10          Q. And it was a person that was in the
 11     crowd, in the protest crowd?
 12          A. Yes, ma'am.
 13          Q. Do you recall whether they told you
 14     anything else about what was going on?
 15          A. You know, like, we also had a black
 16     pastor that came out and talked to the
 17     protesters by loudspeaker, we gave him a
 18     loudspeaker, and he was telling them to go
 19     home, too, but some of the protesters that I
 20     spoke with that were friendly, they just kept
 21     apologizing for all the out-of-towners.              They
 22     said, this is not Baton Rouge way, this is not
 23     our way, we didn't want them here and we
 24     wanted them to leave and we asked them to
 25     leave and they wouldn't leave, and they, you

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  1   know, told us that they planned on being
  2   violent.
  3        Q. Now, who's the "theys?"          Who's the
  4   "theys" there?
  5        A. Talking about the Black Lives Matter
  6   people that were coming from out of town.
  7        Q. Told who what?
  8        A. That when the black -- the black guys
  9   that I was talking to at the protest, they're
 10   citizens of Baton Rouge.
 11        Q. Okay.
 12        A. They live there.        They're local.       And
 13   they were mixed in with the Black Lives Matter
 14   that was the out-of-town group --
 15        Q. Okay.
 16        A. -- that came there to protest.            Matter
 17   of fact, they told me they got paid to come
 18   there and protest.
 19        Q. Who's the "they" that got paid to come
 20   there?
 21        A. The Black Lives Matter protesters that
 22   were coming into Baton Rouge was telling the
 23   locals that they were being paid to come
 24   there.
 25        Q. Okay.     And so you referenced a black

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  1     pastor.     Can you tell us the name of that
  2     black pastor, what church he's with?
  3          A. I can get that information for you,
  4     Ms. Donna.     He's on video, too.           He was on
  5     video, too.
  6          Q. All right.         And you also referenced
  7     that there was -- the Shield Team would know
  8     just as much as your team would know, the
  9     Street Crimes Team.
 10          A. Yes, ma'am.
 11          Q. So if we could get the names of the
 12     Shield Team, those would be further people
 13     that would have witnessed the same things that
 14     you all witnessed?
 15          A. Yes, ma'am, because my team with the
 16     Street Crimes Unit, we were behind the Shield
 17     Team, so they was -- they was actually closest
 18     to the protesters than we were the whole time.
 19          Q. Okay.    Now, you mentioned a black
 20     pastor that came out.          He talked on a bullhorn
 21     or --
 22          A. Yes, ma'am.
 23          Q. -- a loudspeaker or something?
 24          A. Yes, ma'am.
 25          Q. And was there anyone else from around

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  1   Baton Rouge that also came out and asked these
  2   protesters to please leave?
  3        A. I was told that there was, but I don't
  4   have firsthand information.
  5        Q. What was the -- At any time did you all
  6   let these out-of-state protesters know that it
  7   was a violation of Louisiana law for them to
  8   be protesting and blocking a highway?
  9        A. Yes, ma'am.       On video we gave several,
 10   you know, with loudspeakers and bullhorns, we
 11   cited the laws and we cited that we were going
 12   to enforce the law, if they committed a crime
 13   in Baton Rouge, that they would be arrested.
 14        Q. How did you all go about doing that?
 15   How did you notify them?
 16        A. By bullhorn, loudspeakers.
 17        Q. Okay.     Okay.    And what kind of things
 18   were said over these loudspeakers to notify
 19   the crowd and to give them a warning?
 20        A. We just told them that if they walked
 21   out into the highway, that they would be
 22   arrested for blocking traffic and that -- I
 23   remember them telling the actual law as far as
 24   the statute, Louisiana statute, they read the
 25   statute out loud and told them that we were

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  1     going to be enforcing that and they were not
  2     going to be permitted to block traffic.
  3          Q. Now, did the Dallas shooting of 12
  4     officers just days before this, did that have
  5     any -- it was at a Black Lives Matter protest.
  6     Did that play any role in the actions of the
  7     Baton Rouge police or the -- the -- the
  8     actions that they felt they needed to take in
  9     the face of this particular protest?
 10          A. Yes, ma'am, I'm sure it did.           I know
 11     that we -- we set up a lot of different types
 12     of barricades anticipating the violence, and
 13     we had a lot of medical personnel on staff,
 14     and we were anticipating that we could
 15     actually have some shootings during the
 16     protest.    And then when we were told that the
 17     New Black Panther Party was armed and when we
 18     saw them armed, we kind of figured we was
 19     going to, you know, have some shootings
 20     because of it.
 21          Q. Were you in fear for your life?
 22          A. Yes, ma'am.
 23          Q. Now, you talked about being on Goodwood
 24     and Airline at the corner of the Circle K when
 25     the looting took place and you saw DeRay

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  1   McKesson two minutes before.
  2             Approximately how many feet away from
  3   him were you when you saw him with the water
  4   bottle?
  5        A. I was probably about 20 feet from him
  6   and he was probably about 10 or 15 feet from
  7   the cases of water.
  8        Q. Did you ever hear him order the crowd
  9   to stop throwing those water bottles?
 10        A. No, ma'am.
 11        Q. Did you ever hear him at any time or
 12   see him or get the idea that he was trying to
 13   tamp things down, calm things down, encourage
 14   people to stop violating the law?
 15        A. No, ma'am.
 16        Q. Did you ever see him at any time try to
 17   encourage people to stop throwing objects at
 18   police?
 19        A. No, ma'am.
 20        Q. Now, were there -- this happened during
 21   the evening hours, you said, between -- after
 22   ten o'clock.
 23             Were there times during the day that
 24   things were being thrown --
 25        A. Yes, ma'am.

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  1          Q. -- or was it just that -- Okay.            Tell
  2     us about that.
  3          A. Yes, ma'am.        That's been several
  4     different, I guess you could call it almost in
  5     phases that they were enticing the police, you
  6     know, they would step out into the road, and
  7     then when we started to come around to push
  8     them back, they'd -- they'd jump back into the
  9     parking lot, but when we'd get back over in
 10     front of them, they'd start throwing
 11     bottles and -- not just bottles, just all kind
 12     of stuff, trash and, you know, some rocks were
 13     thrown, I believe, and -- but this happened
 14     several times.
 15          Q. Was DeRay -- was there some reason why
 16     he couldn't see what was going on or was he in
 17     a position where he could observe all this?
 18          A. Yeah, he was always on the front line,
 19     so he could see.
 20               MR. GIBBENS:
 21                    Objection to form, but you can
 22               answer.
 23               MS. GRODNER:
 24                    I'm sorry.      What was the problem
 25               with the question?

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  1             MR. GIBBENS:
  2                  Well, you're calling for
  3             speculation, but you can answer.            I'm
  4             just making my objection.
  5   BY MS. GRODNER:
  6        Q. What was I asking?         Okay.   Did you see
  7   what he --
  8             MR. GIBBENS:
  9                  You were asking if he could see.
 10             MS. GRODNER:
 11                  Yeah.
 12   BY MS. GRODNER:
 13        Q. You could see him, correct, with your
 14   own eyes?
 15        A. Yes, ma'am.
 16        Q. Okay.     So you're not guessing about
 17   anything?     This is something you witnessed,
 18   correct?
 19        A. Yes, ma'am.
 20        Q. And so he was aware that the crowd had
 21   been throwing things at police all day,
 22   correct?
 23        A. Yes, ma'am.
 24             MR. GIBBENS:
 25                  Objection to form.

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                                                                                 87
  1     BY MS. GRODNER:
  2          Q. And these guys that had shields, when
  3     you were behind them, could you hear things
  4     bouncing off their shields?
  5          A. Yes, ma'am.
  6          Q. What was that like?        Tell us what that
  7     was like.
  8          A. Just sounded like objects, you know,
  9     hitting the -- hitting the plastic, and so
 10     that, you know, you could tell that it was
 11     stuff being thrown, and then some of the
 12     things were coming over the top of them, so
 13     they was coming back toward the back.
 14          Q. And that was something that had been
 15     going on for several hours?
 16          A. Yes, ma'am.        Like I said, it was kind
 17     of in phases.      It didn't happen the whole time
 18     of the protest, just different parts of the
 19     day and night they -- they started throwing
 20     things.
 21          Q. Was it your opinion, with the command
 22     and control that you observed DeRay exercising
 23     over this crowd, that he could have stopped
 24     this?
 25               MR. GIBBENS:

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                                                                                 88
  1                       Objection to form.
  2        A. Yes, ma'am, he could have -- he could
  3   have told them to stop.
  4   BY MS. GRODNER:
  5        Q. Do you think -- do you think that his
  6   followers would have listened to him?
  7             MR. GIBBENS:
  8                  Objection.
  9        A. Yes, ma'am.      He's the leader.
 10   BY MS. GRODNER:
 11        Q. What about the criminal activity, did
 12   you ever see him encouraging people to violate
 13   the law by getting in the highway and blocking
 14   cars?
 15        A. Yes, ma'am.      He -- he led them a couple
 16   of times out into the road, which is a
 17   violation of the law, so that's -- that's
 18   encouraging them to follow him and breaking
 19   law.
 20        Q. Were there any gunshots fired during
 21   this protest?
 22        A. I believe so.       I -- I -- I -- I don't
 23   recall which day it was, but I believe there
 24   was some gunfire.
 25        Q. Were there any threats made on the

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  1     families of any of the police officers?
  2          A. Every minute they were out there.             They
  3     threatened to rape our kids, kill us, come
  4     find us where we lived, stuff like that.
  5          Q. Was that the locals that were doing
  6     this or was it the group that came --
  7          A. No, that was the out-of-towners.              That
  8     was the Black Lives Matters that was coming in
  9     from out of town.
 10          Q. The ones that DeRay McKesson was
 11     leading?
 12          A. Yes, ma'am.
 13               MR. GIBBENS:
 14                    Objection to form.
 15     BY MS. GRODNER:
 16          Q. Were there any threats like, hurt one
 17     of us, we'll hurt three of you, or --
 18          A. Yes, ma'am.
 19          Q. Tell us about that.
 20          A. They -- they were -- they would chant a
 21     lot of different hate speech, but one of the
 22     things a lot of them were saying was, if you
 23     hurt one of us, and I'm assuming they're
 24     meaning, you know, African-Americans, you hurt
 25     one of us, we'll hurt three of you.            They

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                                                                                 90
  1   would say that a lot, stuff like that.
  2        Q. Now, you talked about having to disarm
  3   people during this protest.          You said DeRay
  4   McKesson met with the New Black Panthers,
  5   correct?
  6        A. Yes, ma'am.
  7        Q. And when he met with them, did they
  8   have weapons on them?
  9        A. I'm not sure at the initial meeting if
 10   they were armed, but I know when they came out
 11   to the site, the protest site, they had
 12   weapons.
 13        Q. Okay.     So when they met at the store
 14   where Alton Sterling was killed, there were no
 15   weapons?      Is that what you're telling us?
 16        A. I just -- I don't recall.          I don't -- I
 17   don't remember.
 18        Q. But when they came out to the protest
 19   area by the police department, they were
 20   brandishing weapons?
 21        A. Yes, ma'am.
 22        Q. Was DeRay McKesson, was he able to see,
 23   did you see him in close enough proximity that
 24   he could see that these people had weapons?
 25             MR. GIBBENS:

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                                                                                 91
  1                    Objection to form.
  2          A. Yes, ma'am.        He was standing right with
  3     them.
  4     BY MS. GRODNER:
  5          Q. And did they actually approach the
  6     police with firearms, brandishing firearms?
  7          A. Yes, ma'am.
  8          Q. What type of statement were they making
  9     walking towards the police with -- with
 10     firearms?
 11          A. It was very threatening.
 12          Q. At any time did you hear DeRay McKesson
 13     say, ha, ha, we're not going to shoot anybody,
 14     we're just carrying these guns around for
 15     show?    Did he ever say anything like that?
 16          A. No, ma'am.
 17          Q. Was he light and jovial or was he
 18     acting like he was going to back everything
 19     they were saying up?
 20               MR. GIBBENS:
 21                    Objection to form.
 22          A. He was very stern acting.
 23     BY MS. GRODNER:
 24          Q. And so when DeRay McKesson walked out
 25     with these New Black Panthers with weapons,

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  1   was he trying to distance himself from those
  2   people, like, I'm not part of that group, or
  3   was he with them and leading them?
  4             MR. GIBBENS:
  5                  Objection to form.
  6        A. (Inaudible).
  7            (Reporter clarification).
  8        A. He was with them.
  9   BY MS. GRODNER:
 10        Q. Now, was one of your jobs to remove
 11   weapons from these protesters that were
 12   carrying weapons?
 13        A. Yes, ma'am.
 14        Q. Tell us about that.          How did you go
 15   about approaching these people who were armed
 16   with weapons and trying to disarm them in this
 17   crowd?
 18        A. We were told that, you know, if they're
 19   committing a crime, that we were to disarm
 20   them and arrest them.           So once they started
 21   blocking the highways, they were committing a
 22   crime, so we did make arrests and we disarmed
 23   these people and arrested them on the spot.
 24             They also were armed in BREC Park,
 25   Baton Rouge, you know.          Prior to that, they

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  1     walked through BREC Park and we went to arrest
  2     them there, but then they moved back out into
  3     the highway and that's where we disarmed them
  4     and made the arrests.
  5          Q. Well, is it legal to have weapons in a
  6     public park --
  7          A. No, ma'am.
  8          Q. -- where children play?
  9          A. It's illegal.       It's illegal in Baton
 10     Rouge.
 11          Q. Was DeRay McKesson aware that these
 12     people had weapons in a park where children
 13     play?
 14               MR. GIBBENS:
 15                         Objection.
 16          A. Yes, ma'am.
 17     BY MS. GRODNER:
 18          Q. Sir?    I'm sorry.      I didn't get your
 19     answer.
 20          A. Yes, ma'am.
 21          Q. How do you know that?         Did you see him
 22     with your own eyes right there with the --
 23     the -- the New Panthers carrying weapons in a
 24     public park where children play?            Did you
 25     witness that yourself?

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  1        A. Yes, ma'am.
  2        Q. Why did you want to be a John Doe to
  3   start with in this lawsuit?          What was your
  4   interest in doing that?
  5        A. Well, to be honest, Black Lives Matter
  6   has already killed a lot of police officers,
  7   they've been known to be very violent to
  8   police officers, and I was in fear of my life.
  9   I didn't want my name out there for my
 10   family's sake and for mine.          I was scared that
 11   there might be some retaliation.
 12        Q. Okay.     Besides the Shield Team and this
 13   black pastor and your treating physicians, are
 14   there any other persons who were kind of front
 15   line that could tell us the same things that
 16   you've told us here today?
 17        A. Yeah.     Special Response Team was also
 18   present.
 19        Q. Is that with Baton Rouge Police
 20   Department?
 21        A. Yes, ma'am.
 22        Q. Okay.     So the names of those --
 23        A. They had --
 24        Q. I'm sorry?
 25        A. They had -- the Louisiana State Police

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                                                                                 95
  1     was out there, also, and East Baton Rouge
  2     Parish Sheriff's Office, and Livingston Parish
  3     Sheriff's Office was out there, too.
  4          Q. Okay.    But if we had the names of the
  5     Shield Team and the Special Response Team from
  6     Baton Rouge Police Department, that would be
  7     two other groups that witnessed the same
  8     things that you witnessed, correct?
  9          A. Yes, ma'am.
 10               MS. GRODNER:
 11                         That's all I have.        I tender back.
 12               MR. GIBBENS:
 13                    Just a -- just a couple
 14     follow-ups.
 15     EXAMINATION BY MR. GIBBENS:
 16          Q. When you were talking about --
 17     Ms. Grodner asked you about the water bottles
 18     that were taken out of the Circle K.
 19               Did you -- did you witness Mr. McKesson
 20     picking up a bottle of water from those cases
 21     of water that were taken out of the Circle K?
 22          A. Yes, sir, he grabbed a bottle of water.
 23     And I didn't say that, you know, he threw it,
 24     I just -- I noticed that he did have a bottle
 25     of water from that pile, those cases that were

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  1   out there.
  2        Q. But did you -- you actually saw him
  3   picking it up from the case, one of those
  4   cases?
  5        A. Yes, sir.
  6        Q. Okay.     And then you were asked the
  7   question about that.        I think your statement
  8   was that Mr. McKesson was heard giving orders
  9   and directing the crowd.
 10             Now, I just want to clarify.           You
 11   personally did not hear him giving any orders,
 12   did you?
 13        A. Not personal orders, no, I didn't -- I
 14   didn't hear him.
 15        Q. Okay.     And so this was just -- that was
 16   something that you were told by other people?
 17        A. Yes.
 18        Q. Okay.     But you can't give us any
 19   specific names of anybody who actually told
 20   you that?
 21        A. I don't recall, no, sir.
 22             MR. GIBBENS:
 23                  Okay.    All right.     Thank you.
 24             That's all I have.
 25             MS. GRODNER:

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  1                    I just have one follow-up.
  2     EXAMINATION BY MS. GRODNER:
  3          Q. When we gave you your admissions, we
  4     asked you, did you hear him giving orders, and
  5     you said you did.
  6              So is your -- what's with your memory?
  7     Are you having memory problems?             Are you
  8     confused?
  9          A. That's why I try to say I don't recall
 10     because I do, I have some memory problems,
 11     but, you know, I'm just trying to remember
 12     specifically, like, hearing him giving like --
 13     I know that he -- I did say that he told them
 14     to come out into the road, didn't I?
 15          Q. Yes, you did.
 16          A. Okay.    Well, that's -- that's the only
 17     time then.     I'm sorry.     I do recall that, but
 18     I don't -- I don't recall any other specific
 19     orders given, just him, you know, having them
 20     follow him, you know, into the road and stuff
 21     like that.
 22          Q. Okay.    You're not saying you didn't
 23     hear other orders, but you do have specific
 24     recollection of him telling people to come out
 25     into the road and block the highway, correct?

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                                                                                 98
  1        A. That I -- yeah, that -- that I
  2   personally heard.        I'm sorry.    I probably
  3   didn't make that clear.
  4   EXAMINATION BY MR. GIBBENS:
  5        Q. Okay.     Yeah, let me follow up with
  6   that, because I -- because I think what your
  7   testimony was earlier was that they were
  8   following his body language.
  9            So what exactly did you hear him say?
 10        A. Yeah, I -- the initial time that they
 11   went out into the Airline Highway, he did
 12   have -- have the body language and
 13   positioning, like I was saying, and people
 14   following him, and he was telling them, let's
 15   block the road.        I thought I told you that,
 16   but if I didn't, that's what I meant to say.
 17             MR. GIBBENS:
 18                  Okay.     All right.    Thank you very
 19             much.
 20             THE WITNESS:
 21                  Thank you.
 22             MS. GRODNER:
 23                  He's going to read and sign.
 24                       Brad, where do you want her to
 25             mail your copy of your deposition, or

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                                                                                  99
  1               she can email it to you?           Do you want
  2               her just to have her email it to you,
  3               that way you can --
  4               THE WITNESS:
  5                         Yes, ma'am.
  6               MS. GRODNER:
  7                    Or do you want her to mail it to
  8               you?    I don't know where you're going
  9               to be with your job.
 10               THE WITNESS:
 11                    It would be best to email it and
 12               then I can scan it and send it back.
 13               MS. GRODNER:
 14                    Okay.       Do you want to give her an
 15               email address?
 16               THE WITNESS:
 17                         Yes, ma'am.
 18               MS. GRODNER:
 19                    Okay.       Is that okay with you,
 20               Dawn?
 21               THE COURT REPORTER:
 22                    I know that my office usually just
 23               sends, you know, mails a compressed
 24               transcript.        I'm assuming they can
 25               email it.

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                                                                             100
  1             MS. GRODNER:
  2                  If you want to -- if you want to
  3             mail it to me, I'll find out where he
  4             is at the time and get it to him if the
  5             email is a problem.
  6             THE COURT REPORTER:
  7                  Well, why don't you go ahead and
  8             give me the email and I'll talk to my
  9             office later.
 10             MS. GRODNER:
 11                  Okay.    All right.
 12             THE COURT REPORTER:
 13                  So, go ahead, Mr. Ford.
 14             THE WITNESS:
 15                  It's Brad, B-r-a-d,
 16             4014@yahoo.com.
 17             THE COURT REPORTER:
 18                  Thank you.
 19             THE WITNESS:
 20                  Yes, ma'am.
 21                  (Whereupon, the deposition
 22             concluded at 4:51 p.m.)
 23
 24
 25

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                                                                                 101
  1                    WITNESS' CERTIFICATE
  2
  3
  4               I, JOHN BRADLEY FORD, do hereby
  5     certify that the foregoing testimony was given
  6     by me, and that the transcription of said
  7     testimony, with corrections and/or changes, if
  8     any, is true and correct as given by me on the
  9     aforementioned date.
 10
 11     _______________             ________________________
        DATE SIGNED                      SIGNATURE
 12
 13
 14     _____Signed with corrections as noted.
 15
 16     _____Signed with no corrections noted.
 17
 18     DATE TAKEN:      November 27, 2023
 19
 20
 21
 22
 23
 24
 25

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                                                                             102
  1                 R E P O R T E R ' S     P A G E
  2
  3        I, DAWN H. HYMEL, Certified Court Reporter
  4   in and for the State of Louisiana, the
  5   Officer, as defined in Rule 28 of the Federal
  6   Rules of Civil Procedure and/or Article
  7   1434(B) of the Louisiana Code of Civil
  8   Procedure, before whom this sworn testimony
  9   was taken, do hereby state on the record;
 10        That, due to the interaction in the
 11   spontaneous discourse of this proceeding,
 12   dashes (--) have been used to indicate pauses,
 13   changes in thought, interruptions by another
 14   speaker, and/or talkovers; that same is the
 15   proper proceeding, and that the dashes (--) do
 16   not indicate that words or phrases have been
 17   left out of this transcript;
 18        That any words and/or names which could
 19   not be verified through reference material
 20   have been denoted with the abbreviation (sp).
 21
                          ____________________________
 22                       DAWN H. HYMEL, #81016
                          Certified Court Reporter
 23
 24
 25

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  1                  REPORTER'S CERTIFICATE
  2           This certification is valid only for a
        transcript accompanied by my original
  3     signature and original required seal on this
        page.
  4           I, Dawn H. Hymel, Certified Court
        Reporter in and for the State of Louisiana, as
  5     the officer before whom this testimony was
        taken, do hereby certify that the witness was
  6     sworn by me upon authority of R.S. 37:2554,
        and did testify as set forth in the foregoing
  7     pages; that this testimony was reported by me
        in the stenotype reporting method, was
  8     prepared and transcribed by me or under my
        personal direction and supervision, and is a
  9     true and correct transcript to the best of my
        ability and understanding; that the transcript
 10     has been prepared in compliance with
        transcript format guidelines required by
 11     statute or by rules of the board; and that I
        am informed about the complete arrangement,
 12     financial or otherwise, with the person or
        entity making arrangements for deposition
 13     services; that I have acted in compliance with
        the prohibition on contractual relationships,
 14     as defined by Louisiana Code of Civil
        Procedure Article 1434 and in rules and
 15     advisory opinions of the board; that I have no
        actual knowledge of any prohibited employment
 16     or contractual relationship, direct or
        indirect, between a court reporting firm and
 17     any party litigant in this matter, nor is
        there any such relationship between myself and
 18     a party litigant in this matter. I am not
        related to counsel or to the parties herein,
 19     nor am I otherwise interested in the outcome
        of this matter.
 20
 21
 22                           ______________________________
                              DAWN H. HYMEL, #81016
 23                           Certified Court Reporter
 24
 25
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